                                                                                        E-FILED; Baltimore County Circuit Court
                       Case 1:24-cv-03744-BAH          DocumentDocket:
                                                                23-8 6/14/2024
                                                                       Filed 02/03/25    Page 1 of 2 6/14/2024 12:18 PM
                                                                               12:18 PM; Submission:
                                                                                                               Envelope: 16844353


                 OHANA GROWTH PARTNERS, LLC                        IN THE

                                        Plaintiff,                 CIRCUIT COURT

                 vs.                                               FOR

                 RYAN DILLON-CAPPS                                 BALTIMORE COUNTY

                                        Defendant.                            C-03-CV-24-002264
                                                                   FILE NO.: ___________________


                                                    [Proposed]
                                           TEMPORARY RESTRAINING ORDER

                       Upon consideration of the Motion for Temporary Restraining Order and Preliminary

               Injunction, as well as the Memorandum and the Affidavits in support thereof (collectively the

               “TRO Motion”) filed by Plaintiff, Ohana Growth Partners, LLC. (“Plaintiff” or “Ohana”), any

               response thereto, and a hearing thereon, it is, on this ___ day of June, 2024, hereby,

                       ORDERED, that the TRO Motion be, and the same hereby is, GRANTED for the reasons

               set forth therein and based on the following findings:

                               The requested TRO is necessary: (i) to prevent imminent and irreparable harm to
                                Ohana, for which there are no adequate remedies at law and (ii) to maintain the
                                status quo until a full adversarial hearing on Ohana’s concurrent Motion for a
                                Preliminary Injunction;

                               Ohana is likely to succeed on the merits of its claims against Ryan Dillon-Capps
                                (“Dillon-Capps”);

                               The irreparable harm that would befall Ohana absent the requested TRO would far
                                outweigh any potential harm to the Defendant should the injunction be granted;

                               Entry of this TRO serves the public interest in enforcing valid contracts.

                       AND IT IS FURTHER ORDERED, that;


                       1.       Pursuant to Maryland Rules 15-502 and 15-504, Defendant Ryan Dillon-Capps is

               temporarily restrained and hereby ORDERED to:




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                       A. Provide Global Administrative Rights for Ohana's Microsoft 365 Account to Phil
                          Leadore of Hartman Executive Advisors and cease and desist the use of any of access
                          to or use of Ohana's Microsoft 365 Account and related applications, including
                             Ohana's email systems.

                       B. Provide Administrative Rights for Ohana's GoDaddy Account to Phil Leadore of
                          Hartman Executive Advisors and cease and desist the use of any of access to or use of
                          Ohana's GoDaddy Account and related Internet domain name registrations.

                       2.        Pursuant to Maryland Rule 15-503, to secure the payment of any potential damages

               to Defendant as a result of this temporary restraining order ("TRO"), Plaintiff shall post a bond
                                                               § 1.00 (one dollar
               with this Court in the nominal amount of $                      This TRO will not take effect until the

               bond is posted.

                       3.        This TRO shall remain in effect for ten (10) days from the date hereof, unless

               extended for an additional period of no more than ten (10) days or such longer period should the

               Defendant consent thereto.

                       4.        The Defendant or any other person affected by this TRO may move to dissolve or

               modify this TRO on two (2) days' notice to Plaintiff.

                        5.       The Clerk of Court is instructed to promptly place a copy of this TRO on the Court's

               MDEC filing system so that all parties, by and through their respective counsel, receive notice of

               this TRO.
                                                                                0.50 a.m
                       ITISSO ORDERED this             1
                                                           "hay of June 2024 at             p.m.




                                                                         Judge, Circuit Court for Baltimore County,
                                                                         Maryland

                                                                       Entered: Clerk, Circuit Court for
                                                                       Baltimore County, MD
                                                                       June 17, 2024




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